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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION



IN RE: FTX LITIGATION                                             MDL No. 3076




                              PARTIES REPRESENTED LIST

Silvergate Bank and Silvergate Capital Corporation - defendants in the following potential
tag-along actions: (1) Bhatia v. Silvergate Bank, (N.D. Cal. Case No. 3:23-cv-00667); (2) Keane
v. Silvergate Bank, (N.D. Cal. Case No. 3:23-cv-00670); and (3) Magleby, et al., v. Silvergate
Bank, et al., (N.D. Cal. Case No. 3:23-cv-00669).

Alan J. Lane – defendant in the following potential tag-along action: (1) Bhatia v. Silvergate
Bank, (N.D. Cal. Case No. 3:23-cv-00667).




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            BEFORE THE UNITED STATES JUDICIAL PANEL

                      ON MULTIDISTRICT LITIGATION
IN RE: FTX Collapse Litigation                                            MDL No. 3076

                          NOTICES OF APPEARANCE
                           SCHEDULE OF ACTIONS

      Plaintiff(s)     Defendant(s)                District         Civil Action     Judge
                                                                         No.
1.      Joewy        Silvergate Bank,         United States        3:22-cv-01981    Roger T.
       Gonzalez      Silvergate Capital   District Court for the    (Voluntarily    Benitez
                     Corporation, and     Southern District of     Dismissed and
                        Alan J. Lane            California          Case Closed
                                                                    on February
                                                                      13, 2023)
2.    Jose Tomas     Silvergate Capital       United States        3:22-cv-01901    Roger T.
       Sepulveda     Corporation, Alan    District Court for the    (Voluntarily    Benitez
         Zuleta,          J. Lane,        Southern District of     Dismissed and
        Michael       Christopher M.            California          Case Closed
      Lehrer, and          Lane,                                    on February
         Tristan     Tyler J. Pearson,                                10, 2023)
        Newman               and
                       Jason Brenier
3.    Andrawes       Silvergate Bank,         United States        3:23-cv-00038    Roger T.
       Husary,       Silvergate Capital   District Court for the    (Voluntarily    Benitez
     Francisco De    Corporation, and     Southern District of     Dismissed and
       Tomaso,          Alan J. Lane            California          Case Closed
        Soham                                                       on February
      Bhatia, and                                                     10, 2023)
       Michael
        Haww
4.     Matson         Silvergate Bank         United States      3:23-cv-00669     Alex G Tse,
     Magleby and            and           District Court for the (Potential tag-   Magistrate
        Golam        Silvergate Capital   Northern District of    along action)       Judge
       Sakline          Corporation             California
5.      Soham        Silvergate Bank,         United States      3:23-cv-00667     Alex G Tse,
        Bhatia       Silvergate Capital   District Court for the (Potential tag-   Magistrate
                     Corporation, and     Northern District of    along action)       Judge
                        Alan J. Lane            California
6.      Nicole        Silvergate Bank         United States      3:23-cv-00670       James
        Keane               and           District Court for the (Potential tag-     Donato
                     Silvergate Capital   Northern District of    along action)
                        Corporation             California




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